, Case 1:18-cr-00293 Document 1 Filed on 04/17/18 in TXSD Page 1 of 3
United States District Court

 

 

 

 

" Southern Distrlct of Texas
Sealed FlLED
Public and unofficial staff access UNlTED STATES D|STR|CT COURT

within instrument are SOUTHERN D|STR|CT OF TEXAS APR 1 7 2018
P\‘°hlbl“°\ by °°“" °'a°r‘ BROWNSV|LLE D|VlSlCN

UN|TED STATES oF AMER|CA § David J. Bradiey, Cierk of Court

vs. § CRlMlNAL NO. B _ 1 8 2 9
GEORGE Z. RAFlDl § 3
SEALED

lNDICTMENT

THE GRAND JURY CHARGES:
COUNT ONE

On or about January 10, 2012, in the Southern District of Texas, Defendant,
GECRGE Z. RAFlDl,
knowingly attempted to procure his naturalization as a United States citizen contrary to
law, by making a false statement under oath regarding his naturalization application, to
wit:
a. On Part 10, question 8(a) of Defendant RAFlD|’s naturalization application
(Form N-400), Defendant RAFlDl denied that he had ever been a member
of or associated with any organization, association, fund, foundation, party,
club, society, or similar group in the United States or in any other place,
when in fact, as Defendant RAFlDl then weil knew, he was a member of the
Popu|ar Front for the Liberation of Palestine organization from 1994 to 1996.
b. On Part 10, question 9(0) of Defendant RAFlD|’s naturalization application
(Form N-400), Defendant RAFlDl denied that he had ever been a member
of or in any way associated (either directly or indirect|y) with a terrorist

organization, when in fact, as Defendant RAFlDl then weil knew, he was a

`|

Case 1:18-cr-00293 Document 1 Filed on 04/17/18 in TXSD Page 2 of 3

member of the Popu|ar Front for the Liberaticn of Palestine, a terrorist

organization, from 1994 to 1996.

c. On Part 10, question 18 of Defendant RAFlD|’s naturalization application
(Form N-400), in response to the question “Have you ever been convicted
of a crime or offense?", Defendant RAFlDl omitted and failed to disclose
that he had been convicted of (1) Membership and activity in an unlawful

association, and (2) Activities against Pub|ic Order in the lsrae|i N|i|itary

Court in Beit E|, West Bank.

d. On Part 10, question 21 of Defendant RAFlD|’s naturalization application
(Form N-400), in response to the question “Have you ever been in jail or
prison?”, Defendant RAFlDl answered “1 night”, when in fact, as Defendant
RAFlDl then well knew, he had spent several months in prison following his
convictions for (1) Membership and activity in an unlawful association, and

(2) Activities against Pub|ic Order in the israeli l\/lilitary Court in Beit E|, West

Bank.

e. On Part 10, question 23 of Defendant RAFlD|’s naturalization application
(Form N-400), in response to the question “Have you ever given false or
misleading information to any U.S. Government official while applying for
any immigration benefit or to prevent deportation, exclusion, or removal?”,
Defendant RAFlDl answered “No”, when in fact, as Defendant RAFlDl then

well knew, he had given false and misleading information in his App|ication

to Register Permanent Residence or Adjust Status (Form |-485).

|n violation of Title 18, United States Code, Section 1425(a).

t Case 1:18-cr-00293 Document 1 Filed on 04/17/18 in TXSD Page 3 of 3

COUNT TWO
On or about chember14, 2017, within the Southern District of Texas, defendant,
GECRGE Z. RAFlDl,

did knowingly use and possess an immigrant visa, that is a Permanent Resident Card,
which the defendant knew to have been procured by means of a false claim and statement
and otherwise unlawfully obtained, in that defendant RAFlDl made a false statement in
his Application to Register Permanent Residence or Adjust Status (Form l-485) by
omitting and failing to disclose that he had been a member of the Popu|ar Front for the
Liberation of Palestine and that he had been arrested, indicted and imprisoned for
committing violations of |aw.

ln violation of Tit|e 18, United States Code, Section 1546(a).

A TRUE BlLL:

 

_ FOREPERSON OF THE GRAND JURY

RYAN K. PATRICK

UNlTE/I:WTORNEY
,% § 35§/,

lS EL CANO l|l
Assistant United States Attorney

